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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 ANA CERVANTES,
                        Plaintiff,                   CIVIL ACTION FILE
 v.                                                 NO. 1:17-CV-00570-ELR
 UNITED PARCEL SERVICE OF
 AMERICA, INC.,
                        Defendant.


                                     JUDGMENT

       This action having come before the court, Honorable Eleanor L. Ross, United

States District Judge, it is

       Ordered and Adjudged that this action be DISMISSED WITHOUT PREJUDICE

under Federal Rule of Civil Procedure 4(m).

       Dated at Atlanta, Georgia this 26th day of June, 2017.


                                                JAMES N. HATTEN
                                                CLERK OF COURT


                                           By: s/ Charlotte Diggs
                                                           Deputy Clerk

Prepared, Filed and Entered
In the Clerk's Office
    June 26, 2017
James N. Hatten
Clerk of Court

By: s/ Charlotte Diggs
       Deputy Clerk
